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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                 )
TIEMOKO COULIBALY,                               )
                                                 )
                       Plaintiff,                )
                                                 ) Civil Action No.:
       v.                                        ) 14-0712 (RC)
                                                 )
ANTONY J. BLINKEN, U.S. Secretary of             )
State,                                           )
                                                 )
                       Defendant.                )
                                                 )

                        REVISED JOINT PRETRIAL STATEMENT

       Pursuant to Local Civil Rule 16.5 and this Court’s Pretrial Order, ECF No. 101, Plaintiff

Tiemoko Coulibaly and Defendant Antony J. Blinken, U.S. Secretary of State, respectfully submit

the following Revised Joint Pretrial Statement in the above-captioned matter.

I.     STATEMENT OF THE CASE

       This is an action under Title VII of the Civil Rights Act and the Family Medical Leave Act.

Plaintiff alleges that, while working as a French language teacher at the U.S. Department of State’s

Foreign Service Institute in 2011 and 2012, he was subjected to discrimination based on his race

and national origin and retaliation for having engaged in protected activity and requesting medical

leave. Plaintiff was terminated from his position in April 2012. Defendant’s position is that

Plaintiff was appropriately terminated.

II.    STATEMENT OF CLAIMS AND DEFENSES

       A.        Plaintiff’s Statement of his Claim

       This is an action concerning violations of the Title VII of the Civil Rights Act of 1964 and

the federal Family Medical Leave Act (“FMLA”) experienced by Plaintiff Dr. Tiemoko Coulibaly

during his employment as a federal civil servant and French foreign language instructor at the
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Department of State’s Foreign Service Institute (“FSI”). Plaintiff alleges that he experienced

willful and reckless unlawful discriminatory conduct and retaliatory actions by the Defendant’s

agents, and that as a direct result of this conduct and these actions, he was terminated on April 6,

2012. Document 56 (Fourth Am. Compl.) ¶ 1-5. Specifically, his supervisor and other agents of

the Defendant discriminated against him on account of his race and national origin in violation of

Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq., and this discrimination resulted

in a hostile work environment, disparate treatment, adverse employment actions, and an untimely

termination. Id. at ¶ 2. The discriminatory treatment caused mental and emotional pain, lost wages,

family stress, and medical problems, and the latter led him to take leave from his employment at

FSI pursuant to the Family and Medical Leave Act of 1993, 29 U.S.C. § 2601 et seq. Id. at ¶ 3.

During the leave period, the Defendant’s agents continued to harass him and thus interfered with

his FMLA right to take medical leave; further, Defendant’s agents retaliated against Plaintiff for

exercising his FMLA rights. Id. at 4. Finally, Defendant’s agents denied Plaintiff his 12-weeks of

leave guaranteed by the FMLA, and terminated Plaintiff during what would have been his leave

period.

          The Plaintiff was born in Ivory Coast, is of the Black race and Ivorian descent, and is now

a permanent legal resident of the United States. At all relevant times until his termination, he was

employed as a French language instructor at FSI and supervised by agents of the Defendant.

The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331.

          B.      Defendant’s Statement of Defenses

          This case is about Plaintiff’s unwarranted response to Defendant’s efforts to resolve

common, performance based issues between Plaintiff and his first-line supervisor, Dr. Laura Fyfe,

beginning in October 2011. The friction began when Plaintiff, a French Language instructor, failed




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to prepare an adequate lesson plan for his French language classes. When confronted with his

failure to prepare an adequate lesson plan, Plaintiff reacted by sending accusatory emails to Dr.

Fyfe and her supervisors, which led to an in-person meeting to try to resolve the conflict. At the

November 8, 2011, meeting, Dr. Fyfe asked Plaintiff, a black man who is from the Ivory Coast,

whether he had something against her because Dr. Fyfe’s former husband was also from the Ivory

Coast. Plaintiff has alleged that this question demonstrated Dr. Fyfe and Defendant’s racial

discrimination against him.

       After the meeting, Plaintiff filed an EEO complaint and escalated his email campaign

against Dr. Fyfe and management with lengthy and unfounded accusations of racial discrimination

and retaliation. In February 2012, Plaintiff provided a doctor’s note stating that he suffered from

anxiety and depression, and he subsequently took medical leave. At his deposition, Plaintiff

testified that every email he received from his supervisors was discriminatory and retaliatory, even

if those emails only addressed work-related issues.

       On March 28, 2012, Plaintiff requested to take eight hours of sick leave for the next day,

March 29, 2012. Plaintiff’s accrued leave balance, however, was not enough to cover his request

for leave, and he also failed to properly apply for that leave. Nevertheless, Plaintiff failed to appear

at work or perform his duties as a French Instructor on March 29, 2012. On April 2, 2012,

Plaintiff’s employment was terminated due to the confluence of his erratic and unacceptable

conduct that adversely affected FSI’s operations. Specifically, Plaintiff, even after requests to

curtail the disruptive aspects of his conduct, persisted in engaging in angry and emotional

interactions with his supervisors and failed to follow established procedures for requesting leave,

resulting in interference with the agency’s mission.




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        The Department concluded that Plaintiff had significantly disrupted the efficient operation

of FSI’s French Language section due to his persistent pattern of unprofessional conduct over a

period of months. In addition, Defendant found that Plaintiff failed to comply with the procedures

for requesting leave and was absent without leave on March 29, 2012. For these reasons,

Defendant’s decisions to deny the requested leave and to terminate Plaintiff’s employment were

reasonable and not motivated by discrimination based on Plaintiff’s race or national origin or in

retaliation for his protected activity.

III.    SCHEDULE OF WITNESSES

        A.       Plaintiff’s Witnesses

        Plaintiff’s Witness List is attached as Exhibit A.

        Defendant alerts Plaintiff and the Court that it may raise objections based on Federal Rules

of Evidence 402 and 403 with regarding to the testimony of Nathalie Lo and Hmimic At-Lmulud

regarding the topic described as “work environment.” Without further precision regarding the

proposed testimony, Defendant may need to object at trial to those portions of the examination that

are not relevant or that are unfairly prejudicial to Defendant.

        B.       Defendant’s Witnesses

        In addition to the witnesses listed by Plaintiff, and not objected to by Defendant, Defendant

may call the following witnesses:

1.      Dr. Laura J. Fyfe (2 hours)

        Dr. Fyfe was Plaintiff’s first-line supervisor from August 2011 until January 2012. Dr. Fyfe

is expected to testify about her interactions with Plaintiff and the events that Plaintiff has cited in

connection with his allegations of discrimination and retaliation.




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2.        Philippe C. Casteuble (2 hours)

          Mr. Casteuble was Plaintiff’s first-line supervisor from January 2012 until April 2012. He

is expected to testify about his interactions with Plaintiff and the events that Plaintiff has cited in

connection with his allegations of discrimination and retaliation.

3.        Brian W. Springer (1 hour)

          Mr. Springer worked as a Human Resources Specialist during the relevant time period.

          He is expected to testify about his interactions with Plaintiff and the events that Plaintiff

has cited in connection with his allegations of discrimination and retaliation, particularly those

concerning Plaintiff’s requests for medical leave.

4.        James E. North (1 hour)

          Mr. North was an Associate Dean at FSI during the relevant time period. He is expected to

testify about Plaintiff’s conduct in the workplace between August 2011 and April 2012 and the

basis for Plaintiff’s termination.

5.        Ann Keller-Lally (2 hours)

          Ms. Keller-Lally was a language training supervisor and at times served as Acting Division

Director in Debra Blake’s absence. She mediated a meeting between Dr. Fyfe and Dr. Coulibaly

in November 2011, which Dr. Coulibaly cites as important to his discrimination and retaliation

claims.

IV.       LIST OF EXHIBITS TO BE OFFERED IN EVIDENCE

          A.       By Plaintiff

          Plaintiff’s Exhibit List is attached as Exhibit B.

          Defendant objects to the admissibility of statements in Plaintiff’s exhibits (1) that constitute

inadmissible hearsay and (2) where the probative value is substantially outweighed by a danger of




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unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time, and/or

needlessly presenting cumulative evidence. Fed. R. Evid. 403, 801, 802.

       B.        By Defendant

       Defendant’s Exhibit List is attached as Exhibit C.

       Plaintiff’s objections to Defendant’s exhibits are included on Defendant’s exhibit list.

                                           *       *       *

       Although each party has submitted objections to the other party’s exhibits, they are

working together to reach agreement ahead of time on the admissibility of a set of exhibits, in

order to increase efficiency at trial. The parties intend to file a list of the exhibits to which

admissibility is agreed by the parties on or before March 25, 2022.

       In addition, each of the parties has added several new exhibits (PX134 on Plaintiff’s side

and DX76 and DX77 on Defendant’s side); the parties are still reviewing those exhibits and will

consider them as part of their discussions on admissibility. For the time being, the parties reserve

the right to assert any objections to the admissibility of those exhibits.

V.     DESIGNATION OF DEPOSITIONS TO BE OFFERED IN EVIDENCE

       A.        By Plaintiff

       Plaintiff’s deposition designations, with Defendant’s specific objections and counter-

designations, are attached as Exhibit D.

       Defendant continues to generally object to Plaintiff’s deposition designations to the extent

that they constitute inadmissible hearsay. Defendant objects to the admissibility of deposition

designations where the witness is available to testify at trial.




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       B.       By Defendant

       Defendant’s deposition designations, with Plaintiff’s objections, are attached as Exhibit E.

Defendant intends to use Plaintiff’s deposition as substantive and impeachment evidence pursuant

to Federal Rule of Evidence 801(d)(2). Defendant reserves the right to use all other deposition

testimony for impeachment purposes.

VI.    PLAINTIFF'S ITEMIZATION OF DAMAGES

       Dr. Coulibaly seeks compensatory damages for emotional distress, mental anguish,

frustration, inconvenience, embarrassment, and humiliation and other general damages in the

amount of $300,000.00, the maximum amount under 42 U.S.C.§ 198la(b)(3).

       In the event of a finding of liability, Dr. Coulibaly intends to seek equitable relief for

economic losses in the amount of $959,850.00, in post-trial proceedings.

        Dr. Coulibaly will also seek post-trial, if he prevails on any claim, an award of attorney's

 fees and costs against Defendant under Title VII (42 U.S.C.§2000e-5(k)).

VII.   OTHER RELIEF SOUGHT

       Defendant requests that the Court enter judgment in favor of Defendant, and dismiss

Plaintiff's claims, with prejudice. Defendant requests the Court award costs to Defendant.

VIII. JOINT PROPOSED VOIR DIRE QUESTIONS

       Each party has proposed voir dire questions. Plaintiff’s proposed voir dire questions are

attached as Exhibit F. Defendant’s proposed voir dire questions are attached as Exhibit G.

IX.    PROPOSED STANDARD JURY INSTRUCTIONS

       Each party has proposed jury instructions. Plaintiff’s proposed jury instructions are

attached at Exhibit H. Defendant’s proposed jury instructions are attached as Exhibit I.




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X.     PROPOSED VERDICT FORM

       Each party has proposed a verdict form. Plaintiff’s proposed verdict form is attached as

Exhibit J. Defendant’s proposed verdict form is attached as Exhibit K.

Dated: March 24, 2022                       Respectfully submitted,

                                             /s/ Mary E. Miller
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